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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                       Plaintiff,
v.                                                   Case No.: 1:23−cr−00169
                                                     Honorable Sharon Johnson Coleman
Eldar Mata, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 30, 2023:


       MINUTE entry before the Honorable Sharon Johnson Coleman as to Luis
Gonzalez Lopez (3): Arraignment is set for 10/3/2023 at 11:00 AM as an in−person
hearing in courtroom 1241. Mailed notice. (ym)




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